Case 3:24-cr-00250-S          Document 34        Filed 01/27/25   Page 1 of 5     PageID 282



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                                    No. 3:24-CR-00250-S

v.

KEITH J. GRAY (01)

                THE UNITED STATES OF AMERICA’S WITNESS LIST

          Pursuant to the Court’s orders (Dkts. 11 and 24), the United States, by and through

the undersigned counsel, files this Witness List in advance of the February 24, 2025, trial.

             Witness Name          Fact, Expert,
              (Probable or           or Record        Summary of Anticipated Testimony
                Possible)            Custodian
           Armstrong, Betsy        Fact             Betsy Armstrong was the bookkeeper for
           (Probable)                               Parameno, the parent company for Gray’s
                                                    laboratories, Axis and Kingdom, among
                                                    other related businesses. Armstrong will
     1.                                             testify regarding wire payments made to
                                                    American Health Screening (“AHS”) at
                                                    Gray’s direction, as well as the
                                                    explanations Gray gave her for the
                                                    payments.
           Cawthon, Don            Fact             Don Cawthon, a Sergeant with the
     2.    (Possible)                               Medicaid Fraud Control Unit, Texas
                                                    Office of Attorney General, participated
                                                    in the investigation in this case.
           Decker, Stephen         Fact             Stephen Decker will testify about his role
           (Probable)                               in the conspiracy as a so-called “sub-
     3.                                             marketer” brought in by Scott Wohrman
                                                    to obtain additional cardio genetic testing
                                                    referrals for Gray’s laboratories.
     4.    Deo, Rajat              Expert           See Expert Disclosure, Dkts 33, 33-1, &
           (Probable)                               33-3.
           Duckwiler,              Fact             Douglas Duckwiler, a Medicare
     5.    Douglas                                  beneficiary for whom cardio genetic
           (Possible)                               testing was ordered by Gray’s laboratory,
                                                    will testify he was contacted about


United States of America’s Witness List—Page 1
Case 3:24-cr-00250-S          Document 34        Filed 01/27/25   Page 2 of 5    PageID 283



             Witness Name          Fact, Expert,
             (Probable or           or Record         Summary of Anticipated Testimony
               Possible)            Custodian
                                                    genetic testing, sent a saliva swab kit in
                                                    the mail, never received results nor
                                                    discussed them with his doctor, and
                                                    subsequently lodged a complaint with
                                                    law enforcement.
           Dudley, Corey           Fact             Corey Dudley was a billing manager for
           (Probable)                               Parameno-related entities, including Axis
     6.                                             and Kingdom, and will testify regarding
                                                    Gray’s role in the claims selection and
                                                    submission process.
           Farr, Trevor            Fact             Trevor Farr, a part-owner of Parameno,
     7.    (Possible)                               may testify regarding his knowledge of
                                                    the business relationship between Gray
                                                    and AHS.
           Foster, Tanya           Fact             Tanya Foster is a Medicare beneficiary
           (Possible)                               for whom cardio genetic testing was
     8.                                             ordered by Gray’s laboratory. Foster will
                                                    testify regarding how she was contacted
                                                    and that she never received results nor
                                                    discussed them with her doctor.
           Freese, William         Fact             William Freese, a Special Agent with
     9.    (Possible)                               Health and Human Services – Office of
                                                    Inspector General, participated in the
                                                    investigation in this case.
           Harvey, Emily           Fact             Emily Harvey is a Medicare beneficiary
     10. (Possible)                                 for whom cardio genetic testing was
                                                    ordered by Gray’s laboratory.
           Heneghan, David         Fact             David Heneghan co-owned and operated
           (Probable)                               AHS along with Scott Wohrman.
     11.                                            Heneghan will testify about his role at
                                                    AHS running business operations and
                                                    tracking expenses, as well as AHS’s
                                                    business model.
           Moore, Curtiss          Fact and         Dr. Curtiss Moore is a cardiologist who
           (Possible)              Expert           may testify regarding signing an order for
     12.                                            cardio genetic testing for a Medicare
                                                    beneficiary for whom Gray’s laboratory
                                                    submitted claims to Medicare.




United States of America’s Witness List—Page 2
Case 3:24-cr-00250-S          Document 34        Filed 01/27/25   Page 3 of 5     PageID 284



           Witness Name            Fact, Expert,
            (Probable or             or Record        Summary of Anticipated Testimony
              Possible)              Custodian
         Moore, Beatrice           Fact             Beatrice Moore worked at Parameno as
     13. (Possible)                                 Gray’s executive assistant and will testify
                                                    regarding Axis and Kingdom business
                                                    operations.
         Omar, Gizman              Fact             Gizman Omar worked at Parameno as
     14. (Possible)                                 Gray’s executive assistant and will testify
                                                    regarding Axis and Kingdom business
                                                    operations.
         Pittore, Carol            Fact             Carol Pittore was employed by Open
     15. (Possible)                                 Med as a purported genetic counselor and
                                                    may testify regarding business
                                                    operations.
         Robinson, Marylee Fact                     Marylee Robinson reviewed financial
     16. (Probable)                                 records and claims data in this case and
                                                    will testify regarding summary exhibits
                                                    pursuant to FRE 1006.
           Santone, Pamela         Fact and         Dr. Pamela Santone is a physician who
           (Possible)              Expert           may testify regarding an order for cardio
     17.                                            genetic testing for a Medicare beneficiary
                                                    for whom Gray’s laboratory submitted
                                                    claims to Medicare.
           Schwarm (Hull),         Expert           See Expert Disclosure, Dkts. 33, 33-1, &
     18. Shauna                                     33-2.
           (Probable)
           Sewell, Bradley         Fact             Brad Sewell was a minority owner of
           (Probable)                               Parameno who will testify about his
     19.                                            involvement in the laboratory business
                                                    and Gray’s representations regarding the
                                                    payments to AHS.
         Sewell, Robert            Fact             Howard Sewell was another minority
     20. Howard                                     owner of Parameno who will testify
         (Probable)                                 regarding his knowledge about the
                                                    relationship with AHS.
         Shepard, Nicholas         Fact             Nicholas Shepard, a Special Agent with
     21. (Possible)                                 the Federal Bureau of Investigation,
                                                    participated in the investigation in this
                                                    case.
     22. Singleton, Michael        Fact             Michael Singleton is an accountant with
           (Probable)                               Clifton Lawson Allen, LLP, and will


United States of America’s Witness List—Page 3
Case 3:24-cr-00250-S          Document 34        Filed 01/27/25   Page 4 of 5   PageID 285



            Witness Name           Fact, Expert,
            (Probable or            or Record         Summary of Anticipated Testimony
              Possible)             Custodian
                                                    testify regarding his knowledge of the
                                                    process and underlying documentation
                                                    utilized to prepare and file Gray’s tax
                                                    returns, including those for his
                                                    laboratories, Axis and Kingdom.
         Standlee, Stephen         Fact             Stephen Standlee worked as an IT
     23. (Probable)                                 specialist for Parameno, and he will
                                                    testify regarding his knowledge of any
                                                    software purchased from AHS.
         Straight, Richard         Fact             Richard Straight, a part-owner of
     24. (Possible)                                 Parameno, may testify regarding his
                                                    knowledge of the business relationship
                                                    between Gray and AHS.
           Wohrman, Scott          Fact             Scott Wohrman was an owner and
           (Probable)                               operator of AHS and will testify to his
                                                    role in the conspiracy, including
     25.                                            relationship with Defendant. Wohrman,
                                                    through AHS, received kickbacks from
                                                    Gray in exchange for cardio genetic
                                                    testing referrals.
         Wright, Bryan             Fact             Bryan Wright, who worked at Parameno,
     26. (Possible)                                 may testify regarding his knowledge of
                                                    the business relationship between Gray
                                                    and AHS.
           Record Custodians                        Absent a defense stipulation, the
           (Possible)                               government may be required to call
                                                    records custodians to introduce business
                                                    records pursuant to FRE 902(11) and
                                                    803(6) from the following entities,
     27.                                            among others: Bank of America,
                                                    Hancock Whitney Bank, Bank of the
                                                    West, Bank of America, JP Morgan
                                                    Chase Bank, Qlarant Integrity Solutions,
                                                    Novitas Solutions, Fulgent Genetics,
                                                    Parameno Health, Sewell Automotive,
                                                    and Texas Vehicle Exchange.


(Continued on the next page.)



United States of America’s Witness List—Page 4
Case 3:24-cr-00250-S          Document 34         Filed 01/27/25    Page 5 of 5   PageID 286



                                                 Respectfully submitted,

                                                 CHAD MEACHAM
                                                 ACTING UNITED STATES ATTORNEY

                                                 GLENN S. LEON
                                                 CHIEF, FRAUD SECTION
                                                 CRIMINAL DIVISION

                                       By:       s/ Brynn A. Schiess
                                                 Adam Tisdall, Trial Attorney
                                                 Brynn A. Schiess, Assistant Chief
                                                 Fraud Section, Criminal Division
                                                 U.S. Department of Justice
                                                 1100 Commerce Street, Third Floor
                                                 Dallas, Texas 75242-1699
                                                 Telephone: (202) 374-3484 (Schiess)
                                                 Telephone: (713) 567-9513 (Tisdall)
                                                 Brynn.Schiess@usdoj.gov
                                                 Adam.Tisdall@usdoj.gov

Dated: January 27, 2025




United States of America’s Witness List—Page 5
